                      IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

  JASON WILLIAMS,

         Plaintiff,                                   Case No. 5:19-cv-00475-BO

  vs.                                            AGREED ORDER SETTING
                                                    MEDIATION DATE
  AT&T MOBILITY, LLC,

         Defendant.

        For good cause shown and with the consent of the Parties to this action, the

 joint motion to set mediation date is hereby GRANTED.

        Mediation in this matter is scheduled for September 30, 2021 with mediator

 Rene Stemple Trehy (Ellis).

        IT IS SO ORDERED.
              15th day of June, 2021.
        This ____

                                        _____________________________________

AGREED:


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          Case 5:19-cv-00475-BO Document 74 Filed 06/15/21 Page 1 of 1
